Argued November 19, 1941.
The Unemployment Compensation Law (Act of December 5, 1936, P.L. 1937, p. 2897) provides in section 510, "In any appeal to the Superior Court the findings of the board or referee, as the case may be, as to the facts, if supported by the evidence and in the *Page 250 
absence of fraud, shall be conclusive, and in such cases the jurisdiction of the Court shall be confined to questions of law."
The referee found that the claimant was laid off by her employer, acting through its forelady, on December 8, 1939, at a time when she was able and willing to work. The board, on appeal, affirmed the findings. They are supported by substantial competent evidence and are conclusive on us.
Her leaving work was therefore not voluntary. See Labor Industry Dept. v. Unemployment Compensation Board of Review,133 Pa. Super. 518, 521, 3 A.2d 211; and she was entitled to unemployment compensation.
The decision of the board is affirmed and the appeal is dismissed.